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                              EXHIBIT K
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          SUPREME COURT OF THE STATE OF NEW YORK
          APPELLATE DIVISION – FIRST DEPARTMENT

          THE PEOPLE OF THE STATE OF NEW YORK,
          by Letitia James, Attorney General                 Mot. No. 691
          of the State of New York
                                                             Case No. 2023-00672
                          Petitioner-Respondent,
                                                             Supreme Court
                                 v.                          New York County
                                                             Index No. 453196/2022
          VDARE FOUNDATION, INC.,

                          Respondent-Appellant.




                     MEMORANDUM OF LAW IN OPPOSITION TO
                    APPLICATION FOR A STAY PENDING APPEAL




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                    PRELIMINARY STATEMENT

     In this special proceeding to compel compliance with a subpoena

duces tecum, the New York State Office of the Attorney General (OAG)

has amply demonstrated that its subpoena to VDARE Foundation, Inc.

is reasonably related to the State’s strong interest in the regulation of

charitable organizations for the public good. VDARE has stymied OAG’s

investigation at every turn—first by seeking numerous extensions of the

compliance deadline, then by producing a trickle of documents with

heavy and unexplained redactions, and finally by filing a preemptive

lawsuit in federal district court seeking to enjoin OAG’s investigation in

its entirety and dallying in seeking relief in even that action. Supreme

Court, New York County (Kraus, J.) properly granted OAG’s motion to

compel VDARE’s compliance with the duly issued subpoena and denied

VDARE’s motion to dismiss or stay the subpoena-compliance proceeding

pending resolution of its federal action. This Court should deny VDARE’s

request for the extraordinary relief of a stay of Supreme Court’s order

pending appeal.

     First, VDARE has failed to show that it is likely to succeed on the

merits of its appeal. VDARE’s insistence that Supreme Court was required
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to defer to the “first-filed” federal case is wrong as a matter of law—both

because the “first-filed” rule does not apply where the relief sought in the

later-filed action (that is, compliance with an OAG investigative

subpoena) is not available in the earlier-filed action, and because it is not

controlling where the actions were filed near in time to one another or

where one party files first preemptively after learning of the opposing

party’s intent to commence litigation. In any event, VDARE’s assertion

that OAG’s investigation is motivated by harassment or retaliation is

bereft of any evidence and is belied by the facial legitimacy of the

subpoena.

     Second, equitable factors also support denial of VDARE’s application

for stay pending appeal. VDARE has not put forward any evidence that

it faces irreparable harm from the denial of its application; indeed,

VDARE’s copious litigation delays bely any allegation of harm. By

contrast, a stay would prolong OAG’s already-delayed investigation by

months, to the detriment of the public interest in expeditious investi-

gations and ensuring the compliance by organizations like VDARE with

laws governing misuse of charitable assets.




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                              BACKGROUND

A.   Statutory Background

     VDARE is a charitable non-profit corporation organized under the

laws of the State of New York. Affirm. of Andrew J. Frisch in Supp. of

Appl. for Stay & Interim Relief Pending Appeal (Frisch Affirm.) ¶ 4 (Feb.

6, 2023); Id., Ex. A (Supreme Court Decision & Order on Mot. (Jan. 23,

2023)) at 1. 1 New York charitable organizations and their officers,

directors, and trustees are subject to regulation by the State.

     As relevant here, OAG is empowered to “investigate transactions

and relationships of trustees for the purpose of determining whether or

not property held for charitable purposes has been and is being properly

administered,” including by “subpoena” for the “production of any books

or papers” and “examin[ation]” of “any . . . witness under oath.” Estates,

Powers and Trusts Law § 8-1.4(i); see id. § 8-1.4(a)(2) (“trustee” defined

to include “any non-profit corporation organized under the laws of this

state for charitable purposes”).




     1 The Frisch Affirmation is NYSCEF Doc. No. 3 in this appellate

proceeding. All other references to NYSCEF documents herein are to the
electronic docket of the trial court. All lettered exhibit references are to
the exhibits attached to the Frisch Affirmation.
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      OAG may also institute an action or special proceeding to seek a

variety of remedies relating to the operation or dissolution of not-for-profit

corporations, including “[t]o enjoin, void or rescind any related party

transaction, seek damages and other appropriate remedies, in law or

equity, in addition to any actions pursuant to section 715 (Related party

transactions) of this chapter,” Not-for-Profit Corporation Law § 112(a)(10),

and is authorized to “take proof and issue subpoenas” in connection with

any such investigation, id. § 112(b)(6). Aside from these specific powers,

OAG is broadly authorized to take legal action against “repeated fraudu-

lent or illegal acts or . . . persistent fraud or illegality in the carrying on,

conducting or transaction of business” and may “issue subpoenas” in

connection with any such investigation. Executive Law § 63(12).

      Subpoenas issued by OAG are “presumptively valid,” and a

challenging party has the burden of proof to establish an investigatory

subpoena’s invalidity. Matter of Doe v. Kuriansky, 91 A.D.2d 1068, 1068

(2d Dep’t 1983). To satisfy that heavy burden, a party must show that the

information sought by OAG’s subpoena is “utterly irrelevant to any

proper inquiry.” Matter of La Belle Creole Intl., S.A. v. Attorney-General

of State of N.Y., 10 N.Y.2d 192, 196 (1961). If the legality of the conduct


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being investigated is even “arguable, then the subpoena[] issued pursuant

to the Attorney-General’s broad powers to investigate possible violations

of [New York law] must be sustained.” Anheuser-Busch, Inc. v. Abrams,

71 N.Y.2d 327, 332 (1988).


B.   Factual and Procedural Background

     1.   VDARE’s suspected violations of New York law

     VDARE incorporated in New York in 1999. Ex. A at 1. In 2000,

VDARE applied for (and, in 2001, received) charitable tax-exempt status

from the federal Internal Revenue Service (IRS) under Section 501(c)(3)

of the Internal Revenue Code, stating in its application that it planned to

operate from offices in New York and listed two of its four directors at

addresses in New York City. Id. at 1-2. As reported to the IRS, VDARE’s

mission is to “[c]reate and manage [an] internet publication.” Affirm. of

Yael Fuchs in Supp. of OAG’s Order to Show Cause to Compel Compliance

with Investigative Subpoena ¶ 15 (Dec. 16, 2022), NYSCEF Doc. No. 4

(attached hereto without accompanying exhibits as Ex. 1). It operates a

website (www.vdare.com) to that end. Id. ¶ 17.

     Despite organizing as a New York charitable not-for-profit

corporation in 1999, VDARE did not register with OAG until 2009. Id.

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¶¶ 10-11; see Executive Law § 172(1) (requiring charitable organizations

that “intend[] to solicit contributions from persons in this state or from

any governmental agency” to register with OAG prior to any solicitation).

As of the commencement of this proceeding, VDARE failed to file a

required report by an independent auditor for its 2019 filings and has not

filed required annual financial reports (or exemption statements) with

OAG for the years 2020 or 2021, preventing OAG from exercising its

oversight function over VDARE, its fiduciaries, and its assets. Ex. 1 ¶ 16;

see Executive Law § 172(a)-(c). Nor has VDARE made required disclosures

regarding the relationships of its current board members. According to

VDARE’s publicly available 2020 Form 990 filed with the IRS, its Board

consisted of three directors: Peter Brimelow, Lydia Brimelow, and John

Brimelow. Ex. 1 ¶ 20. John Brimelow is disclosed on Schedule O of Form

990 as Peter Brimelow’s brother. See id. ¶ 19. However, Lydia Brimelow

is disclosed nowhere on Form 990 as Peter Brimelow’s wife, as would

otherwise be required by law. See id.

     OAG became aware of other potential improprieties in VDARE’s

operations through publicly reported and available materials. For

example, in 2019, VDARE reported a six-fold increase in revenue, from


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$700,000 in 2018 to approximately $4.3 million in 2019. Ex. A at 2. Also

in 2019, VDARE doubled the salary of its Chairman, Peter Brimelow, to

approximately $345,000, comprising roughly one-third of VDARE’s

operating expenses. Id.; see Ex. 1 ¶ 35(e). VDARE pays Brimelow’s salary

through an independent contractor, Happy Penguins LLC (Frisch Affirm.

¶ 12), which is owned by Brimelow (Ex. 1 ¶ 35(d)). VDARE’s payments to

Happy Penguins LLC in 2019 exceeded Brimelow’s reported salary by

tens of thousands of dollars. Id. ¶ 35(e). VDARE also listed Peter

Brimelow’s residential home address in Connecticut as its corporate

address while reporting over $45,000 in “office” and “occupancy” expenses

paid to the Brimelows in 2019. Id.

     In or around February 2020, VDARE purchased Berkeley Springs

Castle in West Virginia as a “meeting space” for approximately $1.4

million. Ex. A at 2; Ex. 1 ¶ 23. Public reporting indicates that Brimelow

and his family have used the property as their primary residence since

March 2020. Ex. A at 2; Ex. 1 ¶¶ 25-27. In December 2020, VDARE

conveyed the property to two West Virginia corporations incorporated by

Brimelow’s wife, Lydia (another VDARE director), with the Berkeley

Springs Castle itself going to a non-profit corporation called Berkeley


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Castle Foundation (and the remaining land to a for-profit corporation

called BBB, LLC. Ex. A at 2; Ex. 1 ¶¶ 28-33. Not only were these transac-

tions impermissibly omitted from VDARE’s 2020 Form 990 (Ex. 1 ¶ 29),

under New York law each required approval and written documentation

of that approval by disinterested members of the VDARE Board of

Directors, see Not-for-Profit Corporation Law §§ 509, 715(a)(3), and

should have been submitted for review and approval to OAG or to

Supreme Court, see id. § 510(a)(3). Transfer of charitable assets to a for-

profit entity without fair consideration to disqualified persons is a

violation of both New York and federal law. Ex. 1 ¶ 28.

     In April 2020, Facebook suspended VDARE’s Facebook account

based on Facebook’s determination that VDARE engaged in “coordinated

inauthentic behavior” by creating a network of “fake accounts to create

fictitious personas . . . [,] drive traffic to off-platform sites, and evade

enforcement.” Id. ¶ 36. Facebook determined that VDARE spent approxi-

mately $114,000 buying ads to further these efforts. These expenditures

could constitute a waste of charitable assets and breach of the Brimelows’

fiduciary duties as VDARE officers and directors. Id.




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     2.   VDARE’s minimal and deficient responses
          to New York State Office of the Attorney
          General (OAG) subpoena

     On June 24, 2022, OAG served a subpoena duces tecum on VDARE’s

designated agent and mailed a copy of the subpoena to VDARE’s most

recent address identified in annual filings with OAG’s Charities Bureau.

Id. ¶¶ 37-38. The subpoena sought documents concerning VDARE’s

organizational structure, compliance with conflict-of-interest policy

requirements under New York law, financial operations, purchase and

conveyance of the Berkeley Springs Castle, and transactions with entities

controlled by its directors. Ex. A at 3; see generally Ex. F (Subpoena Duces

Tecum to VDARE (June 23, 2022)).

     On July 2, 2022, VDARE’s prior counsel demanded that the

subpoena be withdrawn and on July 20, 2022, served individual objections

to each of the subpoena requests. Ex. 1 ¶¶ 39-41. The initial response

deadline of July 24, 2022, passed without the production of a single

responsive document.

     On July 27, 2022, OAG clarified the subpoena requests by agreeing

that the names of certain individuals, including VDARE donors and

volunteer supporters, could be redacted from otherwise responsive


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records. Id. ¶ 42. In August 2022, VDARE obtained new counsel and

indicated that it intended to comply with the subpoena but that its new

counsel needed additional time to collect and review potentially responsive

material. Id. ¶ 43.

     On September 19, 2022—nearly three months after the subpoena’s

issuance and two months after its deadline for response and production—

VDARE made a production of approximately 27 redacted documents,

without Bates numbers or a log explaining the basis for any of the

redactions. Id. ¶ 44; see Ex. A at 3. On September 30, 2022, OAG demanded

the production of a redaction log and requested that all future redactions

be accompanied by such a log in the first instance. Ex. 1 ¶ 45. In the

ensuing 12 weeks, VDARE made modest productions from its hard copy

files, but the productions continued to have significant redactions that

were not accounted for in any accompanying log. Id. ¶ 46; see Ex. A at 3.

Redactions appear on almost every category of document produced,

including board meeting minutes, bank statements, accounting ledgers,

credit card statements, invoices from contractors, financial records for

Happy Penguins LLC, and Peter and Lydia Brimelow’s personal bank

statements. Ex. 1 ¶ 46; see Ex. A at 3. As a result, OAG has had no means


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to reliably identify what has been deleted from VDARE’s productions and

on what legal basis such deletions were made. Ex. 1 ¶ 45.

     On October 31, 2022, VDARE represented that its hard-copy

document production was substantially complete (despite the absence of

entire categories of requested documents from VDARE’s production (see

id. ¶ 47)) and identified for the first time 22 unique email accounts

containing approximately 40 gigabytes of potentially responsive data

that needed to be reviewed. Id. ¶ 48; see Ex. A at 3. VDARE stated that

its review of these materials would be complete on November 21, 2022.

Ex. 1 ¶ 48. But on November 21 and then again on November 28, 2022—

now more than five months after the subpoena was issued and four

months after the original production deadline—VDARE informed OAG

that the review was taking longer than expected. Id. ¶ 49. On November

28, 2022, VDARE stated that it would now aim to complete this review

and production by December 12, 2022. Id.; see Ex. A at 4.

     On December 2, 2022, OAG sent a letter to VDARE summarizing

its concerns about (among other things) VDARE’s production delays,

VDARE’s unfounded objections to some of the specific subpoena requests,

and VDARE’s repeated failure to provide a privilege or redaction log. See


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generally Ex. G (Letter from OAG to VDARE (Dec. 2, 2022)). OAG agreed

to a sixth deadline extension to December 12 but stated that it would

seek judicial intervention if VDARE failed to complete its production by

that date. Id. at 3.


      3.   VDARE’s preemptive federal action

      On December 12, 2022, VDARE did not complete its document

production. In fact, it produced no documents at all. See Ex. 1 ¶¶ 53-54.

Instead, VDARE filed a federal lawsuit in the U.S. District Court for the

Northern District of New York against Attorney General James in her

official capacity, contending that the subpoena in its entirety was issued

for impermissible pretextual reasons in retaliation for VDARE’s exercise

of its First Amendment speech rights and violated VDARE’s speech and

associational rights under the First Amendment and the New York

Constitution, art. I, § 8. See Ex. B (Verified Compl. for Declaratory &

Injunctive Relief (Dec. 12, 2022)) ¶¶ 33-50. VDARE sought compensatory

and punitive damages and preliminary and permanent injunctive relief

but did not move the federal court for any injunctive relief while its

complaint was pending.



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     On January 18, 2023, OAG moved to dismiss the federal action,

contending that VDARE’s claims for damages and its claims based on the

New York Constitution are barred by sovereign immunity, that the

federal court should abstain under Burford v. Sun Oil Co., 319 U.S. 315

(1943), and that VDARE’s complaint fails to state a First Amendment

claim in any event. See generally Ex. J (Mem. of Law in Supp. of Def.’s

Mot. to Dismiss (Jan. 18, 2023)). VDARE has sought multiple extensions

on its deadline to respond to OAG’s motion, and its opposition is currently

due on February 22, 2023.


     4.   OAG’s state-court proceeding

     On December 16, 2022, OAG instituted this special proceeding in

Supreme Court, New York County and moved by order to show cause to

compel VDARE’s compliance with the subpoena. See NYSCEF Doc. Nos.

1-4. On January 3, 2023, VDARE moved by order to show cause to dismiss

or stay the state-court proceeding pending resolution of the federal

litigation, contending that the subpoena was pretextual, see Ex. H

(Affirm. of Andrew J. Frisch in Supp. of Resp’t’s Order to Show Cause

(Jan. 3, 2023)) ¶¶ 6-22, and that the issues raised in both proceedings



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were duplicative, see id. ¶¶ 23-24. Argument on both motions was held

on January 19, 2023.

     On January 23, 2023, Supreme Court (Kraus, J.) issued an order

denying VDARE’s motion to dismiss or stay the state-court proceeding,

and granting OAG’s motion to compel. See Ex. A. Supreme Court

reasoned that OAG is authorized to enforce the State’s policy interest in

“ensuring the robust regulation of tax-exempt charitable entities like

[VDARE] . . . when misconduct is suspected” and that the subpoena “is

focused on subject matter areas which fall within the statutory provisions

that govern not-for-profit corporations.” Ex. A at 6. Supreme Court noted

that VDARE “admits the critical facts that first triggered [OAG’s]

scrutiny,” such as the close family relationships among VDARE’s

directors and the Brimelows’ use of a $1.4 million charitable asset as

their personal residence. Id. at 7-8.

     Supreme Court also concluded that VDARE had failed to carry its

“initial threshold burden” of showing that the production of outstanding

information in response to the subpoena would impair its First Amend-

ment rights (as opposed to those of its donors or volunteers, which it

noted OAG agreed to allow to be redacted). Id. at 7. The court also found


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that the production of a redaction log posed no First Amendment concerns

whatsoever, and that the identities of VDARE’s contractors were essential

to evaluate the legality of the transactions in which they were involved.

Id. at 8.

      Finally, Supreme Court found that VDARE had presented “no

compelling basis for a stay of this proceeding in its moving papers, and

acknowledged at oral argument [that] it ha[d] not sought a stay of this

proceeding from the Federal District Court.” Id. at 9. Accordingly,

Supreme Court ordered VDARE (1) to comply with its outstanding

subpoena obligations (while allowing redactions of the names of private

attendees or private contributors to the organization); (2) reproduce

previously produced documents with redactions consistent with its order

along with a log identifying the basis for any remaining redactions by

February 10, 2023; and (3) complete review and production of the

remaining responsive electronic files along with a log identifying the

basis for any redactions in that production by February 24, 2023. Id. at

9-10. Supreme Court also advised the parties that they may “enter into a

Stipulation for the Production of Confidential Information pursuant to




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this order and submit said stipulation to be so-ordered by the court.” Id.

at 10.

     On February 6, 2023, VDARE noticed its appeal and informed this

Court that it would be moving for an emergency stay. On February 7,

2023, just three days before its first production deadline under Supreme

Court’s order, VDARE filed this application for interim relief and

emergency stay pending appeal. On February 8, 2023, this Court issued

an interim stay and ordered briefing on VDARE’s application for an

emergency stay pending appeal.


                              ARGUMENT

            THIS COURT SHOULD DENY VDARE’S MOTION
            FOR A STAY PENDING APPEAL

     “[T]here is no entitlement to a stay” pending appeal. Da Silva v.

Musso, 76 N.Y.2d 436, 443 n.4 (1990). To obtain such relief, the applicant

must demonstrate both a “reasonable probability of ultimate success in

the action, as well as the prospect of irreparable harm” without a stay.

DeLury v. City of New York, 48 A.D.2d 405, 405 (1st Dep’t 1975). This

Court also is “duty-bound to consider the relative hardships that would

result from granting (or denying)” the application, Da Silva, 76 N.Y.2d


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at 443 n.4, which in a government enforcement action entails weighing

the potential prejudice to the public from a stay, see Mark Davies et al.,

8 New York Practice Series, Civil Appellate Practice § 9:4 (3d ed. May 2022

update) (Westlaw). Each of these criteria weighs heavily against granting

VDARE’s motion.


A.    VDARE Is Unlikely to Succeed on the Merits of Its Appeal.

      VDARE has failed to demonstrate a “likelihood of success on the

merits” of its appeal, as is necessary to obtain a stay in this Court. Rand

v. Rand, 201 A.D.2d 403, 403 (1st Dep’t 1994); Pirraglia v. Jofsen, Inc.,

148 A.D.3d 648, 649 (1st Dep’t 2017) (same). Indeed, this Court has been

clear that a stay pending appeal is improper in cases, such as this one

“where the appeal is meritless or taken primarily for the purpose of

delay.” Herbert v. City of New York, 126 A.D.2d 404, 407 (1st Dep’t 1987).


      1.      Supreme Court properly denied VDARE’s motion
              to dismiss or, in the alternative, to stay the
              subpoena-compliance proceeding.

      Supreme Court properly denied VDARE’s motion to dismiss or stay

this subpoena-compliance proceeding in favor of the “first-filed” federal

litigation.


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      Motions to dismiss premised on the prior existence of another action

between the parties are governed by C.P.L.R. § 3211(a)(4), which

authorizes dismissal or any other “such order as justice requires” where

“there is another action pending between the same parties for the same

cause of action in a court of any state or the United States.” C.P.L.R.

§ 3211(a)(4) (emphasis added). Here, the federal action commenced by

VDARE and the subpoena-compliance proceeding initiated by OAG four

days later are not the “same cause of action”: VDARE and OAG

respectively seek different relief, and the relief sought by OAG in the

state-court proceeding (that is, an order mandating compliance with an

OAG investigative subpoena) is not even available to it in federal court.

In such circumstances, New York courts must deny motions brought

under C.P.L.R. § 3211(a)(4). See Walsh v. Goldman Sachs & Co., 185

A.D.2d 748, 749 (1st Dep’t 1992) (reversing dismissal due to prior

pending action where plaintiff could not obtain complete relief in prior

action); Kent Dev. Co. v. Liccione, 37 N.Y. 2d 899, 901 (1975). 2



      2 VDARE’s authorities for the proposition that the “first-filed” rule

is sacrosanct in this Court (see Frisch Affirm. ¶ 24) are not to the contrary,
as none of those cases involved circumstances where, as here, the relief
sought by the plaintiff in the later-filed proceeding was unavailable to it
                                                           (continued on the next page)
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     Moreover, even if the absence of the availability of relief for OAG in

federal court were not dispositive of the issue (though it is), the “first-

filed” rule is “not controlling” where, as here, the “commencement of the

competing actions has been reasonably close in time,” L-3 Communications

Corp., 45 A.D.3d at 9, and where “one party files the first action

preemptively, after learning of the opposing party’s intent to commence

litigation,” id. at 8; see also White Light Prods. v. On the Scene Prods.,

231 A.D.2d 90, 98 (1st Dep’t 1997). Here, only four days separated the

filing of the two proceedings, and VDARE filed its federal court

proceeding on the very day by which OAG had demanded that VDARE

complete its production so as to avoid the resort to “judicial intervention

to obtain compliance.” Ex. G at 3; see L-3 Communications, 45 A.D.3d at

8-10 (reversing dismissal of later-filed New York action, where only four




in the first-filed proceeding. See, e.g., Syncora Guar. Inc. v. J.P. Morgan
Sec. LLC, 110 A.D.3d 87, 96 (1st Dep’t 2013) (noting that the plaintiff
sought “the same damages for the same alleged injuries relating to the
same transaction from close corporate affiliates” in the two cases,
warranting dismissal of the later-filed action); L-3 Communications Corp.
v. SafeNet, Inc., 45 A.D.3d 1, 5 (1st Dep’t 2007) (describing how both cases
involved claim for breach of contract based on the same conduct); Ace
Prop. & Cas. Ins. Co. v. Federal-Mogul Corp., 55 A.D.3d 479, 479 (1st
Dep’t 2008) (same).
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days separated the lawsuits and first lawsuit was filed “preemptively, in

order to gain a tactical advantage,” after litigation had been threatened

by the other party).

     VDARE complains that this exception to the first-filed rule should

not apply in the context of investigative subpoenas issued by OAG,

because OAG’s “resort to litigation is inherent in virtually every subpoena

it issues,” and thus “every person issued a subpoena by the [OAG]” would

be barred from collaterally attacking that subpoena in another venue.

Frisch Affirm. ¶ 26. But this premise can be restated to make the opposite

point: a rule that allowed every person issued a subpoena by OAG to

obtain an indefinite stay of its enforcement merely by filing a preemptive

collateral challenge in federal court would reward the very “procedural

gamesmanship” and “[d]elaying tactics” that this exception was designed

to prevent. White Light Prods., 231 A.D.2d at 98. VDARE’s own conduct

evidenced that it saw OAG’s December 2, 2022, threat to seek “judicial

intervention” in the event of VDARE’s failure to comply by its self-

imposed December 12 deadline (Ex. G at 3) as something more serious

than the boilerplate reservation of rights found in the subpoena itself.

See Frisch Affirm. ¶ 9 (characterizing the December 2 letter as “unduly


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heavy-handed”). Aware that OAG’s patience had worn thin, VDARE

rushed into federal court on the very day it had committed to provide its

final production in response to the subpoena, precisely to avoid a motion

to compel in state court. Supreme Court properly rejected the application

of the first-filed rule here in denying VDARE’s motion to dismiss or stay

in the alternative.

     Finally, there is no merit to VDARE’s contention that OAG’s state-

court action was itself the product of forum-shopping or “subterfuge.”

Frisch Affirm. ¶¶ 30, 32. In bringing this subpoena-compliance

proceeding, OAG made good on its December 2 threat to seek judicial

relief for VDARE’s non-compliance with the subpoena in the only forum

where such relief was available to it. See, e.g., In re Dreier, 438 B.R. 449,

459 (Bankr. S.D.N.Y. 2010) (holding that it is “not forum shopping” where

a litigant has pursued litigation in “the only forum where he can press”

his claim). And VDARE’s allegation that OAG engaged in “subterfuge”

(see Frisch Affirm. ¶¶ 30-31) in order to obtain a two-week extension over

the holidays and due to illness to respond to VDARE’s federal complaint

is nonsensical. VDARE claims that it was duped into consenting to this

request on December 21, 2022, because it did not know at that time of


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OAG’s state-court petition filed on December 16. (Id. ¶ 31.) But even if

OAG had control over the timing of the court’s issuance of the order to

show cause (and it did not), the federal court did not grant OAG’s motion

for an extension until December 28, 2022, see VDARE Found., No. 22-cv-

01337 (N.D.N.Y. Dec. 28, 2022), ECF No. 9—six days after VDARE

became aware of the proceeding on December 22 (see Frisch Affirm. ¶ 31).

Yet VDARE did not withdraw its consent to OAG’s request at any time

after learning of this alleged “subterfuge.” VDARE’s allegation of

misconduct and “subterfuge” should be rejected.


     2.   Supreme Court properly granted
          OAG’s motion to compel.

     Supreme Court also properly granted OAG’s motion to compel

VDARE to comply with the duly issued subpoena.

     A motion to compel compliance with a subpoena “raises only the

issues of the authority of the investigating body and whether the inquiry

falls within the scope of that authority.” Matter of Nicholson v. State

Commn. on Jud. Conduct, 50 N.Y.2d 597, 610 (1980); see Matter of

Giardina v. James, 185 A.D.3d 451 (1st Dep’t 2020). To establish the

legitimacy of the inquiry, OAG “need only make a preliminary showing


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that the information sought is reasonably related to a proper subject of

inquiry.” Matter of Roemer v. Cuomo, 67 A.D.3d 1169, 1171 (3d Dep’t 2009)

(quotation marks omitted). Moreover, OAG “enjoys a presumption that

[s]he is proceeding in good faith.” Id.; see Anheuser-Busch, Inc., 71 N.Y.2d

at 332. Unless the respondent can demonstrate that “the futility of the

process to uncover anything legitimate is inevitable or obvious” or that

any “information sought is utterly irrelevant to any proper inquiry,” the

subpoena will be enforced. Matter of Libre by Nexus, Inc. v. Underwood,

181 A.D.3d 488, 488 (1st Dep’t 2020) (quotation marks omitted).

     OAG has satisfied this standard. There can be no question—and

VDARE does not dispute (see Frisch Affirm. ¶ 8)—that the subject matter

of the subpoena concerns a “proper subject of inquiry.” New York has a

strong public policy interest in ensuring the robust regulation of the

assets of tax-exempt charitable entities like VDARE, see Citizens United

v. Schneiderman, 882 F.3d 374, 379, 384 (2d Cir. 2018) (noting the

“important government interests at stake” in the regulation of New York’s

non-profit sector), and vests significant authority in OAG to enforce those

interests, see, e.g., Abrams v. New York Found. for the Homeless, 190

A.D.2d 578, 578 (1st Dep’t 1993). See generally Ex. A at 6.


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     Moreover, the categories of information sought by OAG (and

withheld by VDARE)—the identities of VDARE’s contractors, and other

redacted information appearing on the likes of bank statements, board

minutes, accounting ledgers, credit card statements, invoices from

contractors, and financial records for related parties—are “reasonably

related” to the State’s regulatory interest in the operations of charitable

non-profit corporations and specifically in identifying and rooting out

improper related party transactions. See, e.g., Not-for-Profit Corporation

Law §§ 509-511-a (regulation of real property transactions by non-profit

corporations); id. §§ 515(a)-(b) (distribution of organization’s income or

profits to directors and officers, including compensation); id. §§ 715, 715-a

(related party transactions and conflicts-of-interests); Executive Law art.

7-a (solicitation of funds); Estates, Powers and Trusts Law§ 8.1.4(a), (i)

(supervision of non-profit corporations organized for charitable purposes,

including “whether or not property held for charitable purposes has been

and is being properly administered”). See generally Ex. A at 6-7.

     Finally, the publicly reported conduct by VDARE more than justifies

the State’s inquiry. See Matter of Evergreen Assn., Inc. v. Schneiderman,

153 A.D.3d 87, 96 (2d Dep’t 2017) (requiring “an authentic factual basis


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to warrant the investigation”); see also Matter of American Dental Coop.,

Inc. v. Attorney-General of State of N.Y., 127 A.D.2d 274, 280 (1st Dep’t

1987) (noting that while OAG must show “some factual basis for [her]

investigation,” she “is not required to demonstrate probable cause or

disclose the details of [her] investigation”). OAG has identified required

omissions about the relationships between and among VDARE’s directors

from its regulatory filings; potential irregularities regarding the compen-

sation paid to VDARE’s Chairman, Peter Brimelow, through a separate

entity owned by Mr. Brimelow himself; and the questionable use of

VDARE’s single-biggest asset—the Berkeley Springs Castle in West

Virginia—as a personal residence by Brimelow and his family, and

subsequent disposition of that property to entities owned or controlled by

VDARE director Lydia Brimelow. See generally Ex. 1 ¶¶ 19-36; Ex. A at

2-3. These publicly reported incidents call into question VDARE’s

compliance with the State’s requirements for non-profit corporations.

     VDARE does not meaningfully argue that the information at issue

“is utterly irrelevant to any proper inquiry” by OAG. 3 Matter of Libre, 181



     3 VDARE cites one only example of a request that is “far afield from

legitimate regulatory oversight”: deposition transcripts and document
                                                          (continued on the next page)
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A.D.3d at 488 (quotation marks omitted). Instead, it claims that the

investigation itself is “retaliatory”—that VDARE is being targeted “for

reasons other than regulatory compliance”—because OAG has taken

unspecified “unduly aggressive positions” in the course of negotiating the

scope and timing of VDARE’s response to the subpoena, and because the

investigation has coincided with the effective date of a statute aimed at

“hateful conduct” on social media as well as the issuance of subpoenas to

Facebook and Meta by a newly established “Hate Crimes Unit” within

the Office. Frisch Affirm. ¶¶ 19-20. But none of these contentions evinces

retaliatory conduct by OAG, particularly in light of the public information

that provided a factual basis for OAG’s inquiry.

     Shifting gears, VDARE next claims that it is entitled to withhold a

narrower swath of the information at issue—i.e., “the identities of



productions from recent litigation between Peter Brimelow and/or VDARE
and the New York Times regarding whether certain articles by the Times
about Brimelow and VDARE were defamatory. Frisch Affirm. ¶ 22. But
it was reasonable for OAG to surmise that such materials might have
touched on the operations of VDARE, which does fall squarely within the
“legitimate regulatory oversight” of OAG. Cf. Wiseman v. American Motors
Sales Corp., 103 A.D.2d 230, 237 (2d Dep’t 1984) (disclosure “should not
be prohibited” where the request “is made in good faith and the
information sought is reasonably calculated to lead to the discovery of
admissible proof”).
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contractors who did business with VDARE”—because the disclosure and

publicization of those identities could threaten VDARE’s “very existence,”

thereby impinging on its First Amendment rights. 4 Frisch Affirm. ¶ 11.

This argument fails for several reasons.

     First, VDARE has not advanced any evidence of a nexus between

the First Amendment harm it alleges and its production of information

in response to the subpoena. See Brown v. Socialist Workers ’74 Campaign

Comm. (Ohio) , 459 U.S. 87, 93 (1982) (noting that the person from whom

disclosure is sought must establish a “reasonable probability” that

disclosure of donors’ or members’ identities “‘will subject them to threats,

harassment, or reprisals from either Government officials or private

parties’” (quoting Buckley v. Valeo, 424 U.S. 1, 74 (1976))); John Doe No. 1

v. Reed, 561 U.S. 186, 201 (2010) (compelling disclosure of same-sex

marriage ballot petition signatures where plaintiffs provided “scant



     4 VDARE makes no argument justifying the numerous redactions it

has made to board meeting minutes, bank statements, accounting
ledgers, credit card statements, and financial records, or as to its failure
to produce responsive documents from the e-mail data that it has identi-
fied. To the extent this Court is inclined to grant emergency relief as to
the order granting the motion to compel on First Amendment grounds, it
should require VDARE to produce any withheld material or information
that does not reflect the identity of any VDARE contractor.
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evidence or argument beyond the burdens they assert disclosure would

impose on R–71 petition signers or the signers of other similarly

controversial petitions”). It identifies several purported instances where

contractors terminated relationships with VDARE as a result of the

“reputational and professional harm” they suffered due to their

association with the organization. Frisch Affirm. ¶ 11. But even assuming

these terminations were the result of contractors being “deterred by the

public enmity attending publicity,” Brown, 459 U.S. at 98, and not by the

contractors’ own “disagreement with VDARE’s views” 5 (Frisch Affirm.

¶ 11), VDARE fails to explain why the production of the contractors’

identities to the government would bring about the publicity that VDARE

contends would cause it constitutional harm—particularly given Supreme

Court’s invitation to enter into a confidentiality agreement (see Ex. A at

10; Ex. L (Stipulation and [Proposed] Order for the Production of




     5 VDARE does not enjoy a First Amendment right to obtain services

from providers who are themselves unwilling to associate with its views.
See, e.g., Hudgens v. NLRB, 424 U.S. 507, 513 (1976) (“[T]he constitu-
tional guarantee of free speech is a guarantee only against abridgment
by government, federal or state.”).
                                    28
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Confidential Information)) that would restrict OAG’s ability to publicize

or utilize such information outside of its investigation.

     VDARE’s vague allegation that OAG allegedly disclosed confidential

information connected to an investigation of “another conservative not-

for-profit entity in OAG’s cross hairs” (Frisch Affirm. ¶ 16) is insufficient

in this regard. For one, VDARE gets the reported facts of this alleged

incident wrong. According to the reporting cited by VDARE, the material

in question was a “donor tax filing” initially filed with the IRS. 6 These

tax returns are also filed with OAG and the New York Department of

State annually as a matter of course. See Executive Law §§ 172-b(7),

172-e(4). Nothing in the article cited by VDARE suggests that the

organization in question was being “investigated” or was in the “cross

hairs” of OAG. In any event, the existence of a protective order here would

provide recourse to VDARE in the event of an unauthorized disclosure.



     6 The Editorial Board, All About Nikki Haley’s Donors, Wall St. J.

(Sept. 4, 2022), https://www.wsj.com/articles/all-about-nikki-haleys-
donors-new-york-attorney-general-letitia-james-stand-for-america-
11662065044; Alex Isenstadt, Document Reveals Identity of Donors Who
Secretly Funded Nikki Haley’s Political Nonprofit, POLITICO (Aug. 26,
2022), https://www.politico.com/news/2022/08/26/donors-secretly-funded-
nikki-haleys-nonprofit-00053963. All URLs were last visited on February
22, 2023.
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     Second, even if VDARE could show a nexus between complying with

the subpoena and its alleged First Amendment harm, VDARE is still

unlikely to succeed on its appeal because the disclosure obligation

nevertheless satisfies constitutional “exacting scrutiny” under Americans

for Prosperity Foundation v. Bonta, 141 S. Ct. 2373 (2021). “Under that

standard, there must be ‘a substantial relation between the disclosure

requirement and a sufficiently important governmental interest,’” id. at

2383 (quoting Reed, 561 U.S. at 196), and the disclosure requirement

must “be narrowly tailored to the interest it promotes, even if it is not the

least restrictive means of achieving that end,” id. at 2384.

     Here, the State’s interest in ensuring that VDARE is not being used

to enrich its insiders is unquestionably important, and the obligation to

comply with a subpoena request for the identities of those who have been

paid by the organization—particularly in light of public reporting that

calls into question VDARE’s conduct on this issue—is substantially

related to that interest. The disclosure obligation is also narrowly tailored

in that: (1) it was imposed by subpoena following public reporting about




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VDARE’s potential misconduct; 7 (2) it is limited to contractors and does

not seek the identities of donors, volunteers, or other unpaid contributors; 8

(3) per Supreme Court’s order, it can be made subject to a protective order

that would restrict OAG’s ability to use the information for other purposes

or disclose the information to third parties; and (4) it is necessary for OAG

to be able to evaluate whether impermissible related party transactions

have taken place at VDARE.

      VDARE contends that the obligation can be narrowed further by

requiring VDARE to produce the identities of only those contractors “who

might qualify as ‘related’ within the meaning of Section 715.” Frisch

Affirm. ¶ 17. But that would allow VDARE to make its own unilateral

determination of relatedness—the very legal question that is the subject

of the investigation—a scenario that would undermine, rather than

further, the State’s interests in ensuring that VDARE is being properly



     7 Compare Bonta, 141 S. Ct. at 2386 (donor disclosure obligation not

narrowly tailored where it was imposed annually on all registered
charities and where the information was not an “integral part of
California’s fraud detection efforts”).
     8 Compare Matter of Evergreen Assn., 153 A.D.3d at 93 (subpoena

seeking information from crisis pregnancy center where organization “did
not engage in any commercial transactions and provided all services pro
bono, relying heavily on unpaid volunteers”).
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run. 9 Next, VDARE offers an alternative that is narrower still: production

of unredacted contractor identities in camera to the court, for the court

to then determine what contractors were “related parties.” Frisch Affirm.

¶ 18; see Ex. L. But that proposal would put the court in the position of

investigating potential misconduct by a charitable investigation and

deciding an ultimate legal issue in the case without the benefit of briefing

or analysis by the parties. It would also impose a least restrictive means

requirement that is at odds with the “exacting scrutiny” standard in

Bonta, 141 S. Ct. at 2384.


B.   Equitable Factors Weigh against Staying
     Supreme Court’s Order That VDARE Comply
     with Its Outstanding Subpoena Obligations.

     Equitable considerations and the public interest weigh heavily

against staying the preliminary injunction pending VDARE’s meritless

appeal.




     9 Compare Matter of Evergreen Assn., 153 A.D.3d at 101 (narrowing

OAG’s requests for information to those “which pertain to the potential
provision of medical or medical-related services,” not to those which are
responsive to the ultimate investigative question of whether Evergreen
was engaging in the unauthorized practice of medicine.)
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     1.   VDARE will not be harmed—irreparably
          or otherwise—by complying with the order.

     To obtain a stay pending appeal, VDARE was required to show that

it faces “the prospect of irreparable harm” in the absence of a stay.

DeLury, 48 A.D.2d at 405. Here, VDARE has failed to make any

evidentiary showing that complying with the subpoena would interfere

with its First Amendment rights, much less that it would be irreparably

harmed by such compliance. Nor has VDARE acted with the urgency that

would suggest that it even believes that complying with the subpoena

would cause it harm. Accordingly, VDARE has provided no basis for this

Court to stay the enforcement of Supreme Court’s order.

     First, VDARE has demonstrated no cognizable harm arising from

compliance with Supreme Court’s order. VDARE’s application for stay to

this Court consists of an attorney affirmation that largely regurgitates

the evidence presented in an attorney affirmation submitted to the court

below. See generally Frisch Affirm.; Ex. H. No officer or director of VDARE

has provided any direct evidence of harm. Nor has VDARE submitted any

evidence (even anonymously) on behalf of a contractor, donor, or volunteer

explaining that VDARE’s compliance with Supreme Court’s order will

deter that third party from continuing to work with VDARE. All that is

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before the Court is the say-so of VDARE’s counsel, and references to

various media reports suggesting that the publicization of a contractor’s

relationship with VDARE could deter it from working with VDARE in

the future. 10 See Frisch Affirm. ¶¶ 11-13. This paltry showing is

insufficient to establish VDARE’s entitlement to a stay.

     VDARE’s contention that it faces irreparable harm due to the

State’s ostensibly “retaliatory” investigation (see Frisch Affirm. ¶¶ 9-10,

19-22) suffers from a similar lack of proof. Merely alleging, without

evidence, that OAG has taken “unduly aggressive positions” in seeking

compliance with an otherwise legitimate and narrowly tailored subpoena

is not enough to establish irreparable injury. Nor does the arrival of the

effective date of a statute “aimed at ‘hateful conduct’” on social media

(Frisch Affirm. ¶ 19) evidence that OAG’s investigation is somehow

irreparably harmful: what the identities of VDARE’s contractors have to

do with that statute is unaddressed by VDARE’s application. 11 And



     10 Notably, these reports are equally susceptible to the inference

that contractors have declined to work with VDARE because of their own
disagreement with VDARE’s advocacy, in which case VDARE’s harm has
nothing to do with OAG’s subpoena or Supreme Court’s order.
     11 That statute, General Business Law § 394-ccc, requires “social

media networks”—defined as “service providers, which, for profit-making
                                                          (continued on the next page)
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finally, the requested stay in this case—even if granted—would have no

bearing on the enforceability of OAG’s independent subpoena to Facebook

and Meta for information regarding VDARE’s suspension from that

platform. Therefore, VDARE’s complaints about that subpoena have no

relevance to this stay application.

      Second, VDARE has not acted with the urgency in this litigation,

or in the parallel federal litigation, that would suggest that it believes its

very existence to be placed at risk by Supreme Court’s order, as it now

claims to be the case (see Frisch Affirm. ¶ 5). Not only did VDARE wait

six months before attempting to seek relief in federal court (on the

flimsiest of notions that the State’s allegedly improper motives only then

became apparent), but it also did not seek emergency relief in that court

despite the pendency of this proceeding, and waited more than two weeks




purposes, operate internet platforms” designed to allow content-
sharing—to maintain a mechanism for users to report hateful conduct
and to maintain a policy for how they will respond to such reports. Id.
§ 394-ccc(1)(b), (2), (3). At minimum, VDARE does not fall within the
ambit of this statute because it does not operate an internet platform “for
profit-making purposes.” In any event, a preliminary injunction was
recently entered against the enforcement of this statute. See Volokh v.
James, No. 22-cv-10195, 2023 WL 1991435, at *11 (S.D.N.Y. Feb. 14,
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after the issuance of Supreme Court’s order—until just days before its

first production deadline under that order—before seeking emergency

relief in this Court. These delays call into question whether VDARE truly

considers itself likely to be harmed by compliance with OAG’s subpoena,

and now with Supreme Court’s order, or whether VDARE is instead

utilizing various options in its toolbox of delay.


        2.   The relative hardships of the parties weigh in favor
             of denying VDARE’s application.

        This Court also is “duty-bound to consider the relative hardships

that would result from granting (or denying)” the application, Da Silva,

76 N.Y.2d at 443 n.4, which in a government enforcement action entails

weighing the potential prejudice to the public from a stay, see Davies et

al., supra, § 9:4. This criterion weighs heavily against an appellate stay

here.

        A stay would prolong OAG’s investigation—already delayed by

VDARE’s dilatory conduct in responding to the subpoena—by months, as

the appeal on the merits will require time to be calendared, briefed,

argued, and eventually decided by this Court. “Constant delays occasioned

by unmeritorious motions to quash followed by routine appeals can lead


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not only to the loss of evidence and the fading of witnesses’ memories, but

also may completely frustrate the course of legitimate investigation into

potentially criminal” or otherwise improper activity. Virag v. Hynes,

54 N.Y.2d 437, 443 (1981). There is a strong “public[] interest in the fair

and expeditious administration” of the laws governing charitable entities

in New York, cf. id. at 444, particularly given that VDARE continues to

solicit donations from residents of New York (and elsewhere). 12 Delayed

resolution of OAG’s investigation into the propriety of VDARE’s various

uses of its solicited funds risks harming the public interest. In light of the

absence of any irreparable harm occasioned by the denial of a stay, and

the harm to the public interest attendant to the entry of a stay, the Court

should deny VDARE’s application.




      12 See VDARE.com, https://vdare.com/donate.


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                               CONCLUSION

     This Court should deny a stay pending appeal.

Dated: New York, New York
       February 22, 2023

                                           Respectfully submitted,

                                           LETITIA JAMES
                                            Attorney General
                                            State of New York
                                           Attorney for Respondent



                                    By:.                                 .
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        EXHIBIT 1
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
          ---------------------------------------------------------------x

          PEOPLE OF THE STATE OF NEW YORK, by                                  Index No. _____
          LETITIA JAMES, Attorney General of the
          State of New York,                                                   AFFIRMATION OF GOOD
                                                 Petitioner,                   FAITH AND IN SUPPORT
                             -against-                                         OF THE ATTORNEY
                                                                               GENERAL’S ORDER TO
          VDARE FOUNDATION, INC.,                                              SHOW CAUSE TO COMPEL
                                                            Respondent.        COMPLIANCE WITH AN
                                                                               INVESTIGATIVE
                                                                               SUBPOENA
          ----------------------------------------------------------------x

                 YAEL FUCHS, an attorney duly admitted to the Bar of this State, affirms under penalties

         of perjury pursuant to Civil Practice Law and Rules § 2106 as follows:

                 1.       I am an Assistant Attorney General in the Office of Letitia James, Attorney

         General of the State of New York, who appears on behalf of the People of the State of New York

         in this special proceeding.

                 2.       I submit this Affirmation in support of the Office of the Attorney General’s

         application by order to show cause seeking expedited relief in connection with an investigative

         subpoena duces tecum (the “Subpoena”) issued by the Attorney General in connection with an

         investigation of Respondent VDARE Foundation, Inc. (“VDARE”).

                 3.       I am familiar with the facts and circumstances set forth in this affirmation, which

         are based upon my personal knowledge and information contained in the files of the Office of the

         Attorney General (“OAG”).

                 4.       As set forth below and in the accompanying Verified Petition and Memorandum

         of Law, in connection with a lawful law enforcement investigation, the Attorney General has

         issued an investigative subpoena and endeavored to resolve the issue of VDARE’s compliance


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         with that subpoena and has been unable to reach a resolution. The OAG now seeks an order

         pursuant to CPLR § 2308(b) to enforce its non-judicial subpoena without further delay.

                5.      As set forth in greater detail in the accompanying Memorandum of Law, the

         Attorney General is vested with expansive oversight authority of not-for-profit entities, their

         representations to donors and potential donors, and their use of charitable assets under the New

         York Not-for-Profit Corporation Law, the Estates, Powers and Trusts Law and the Executive

         Law.

                6.      Respondent VDARE is a not-for-profit corporation organized under the laws of

         the State of New York. VDARE was previously known as the Lexington Research Institute,

         Limited, and incorporated in New York under that name in 1999. A true and correct copy of

         VDARE’s Certificate of Incorporation is attached hereto as Exhibit A.

                7.      VDARE’s Certificate of Incorporation provides that:

                        ***

                5. Notwithstanding any other provisions of these articles, the Corporation is organized
                exclusively for charitable, educational, and literary purposes and intends at all times to
                qualify as exempt from federal income tax under section 501(c)(3) of the United States
                Internal Revenue Code, as now in effect or as subsequently amended. Accordingly, the
                Corporation shall not be operated for pecuniary profit or financial gain, no part of the net
                earnings of the Corporation shall inure to the benefit of any private individual, no
                substantial part of the Corporation's activities shall consist of carrying on propaganda or
                otherwise attempting to influence legislation, and the Corporation shall not participate or
                intervene in any political campaign on behalf of (or in opposition to) any candidate for
                public office.

                6. The Corporation may pay reasonable compensation to any person for services rendered
                to the Corporation in furtherance of its lawful purposes.

         Ex. A at 1.

                8.      In 2000, VDARE, then still known as the Lexington Research Institute, Limited,

         applied for recognition as a tax-exempt organization by the Internal Revenue Service (IRS). A




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         true and correct copy of VDARE’s Form 1023 Application for Recognition of Exemption is

         attached hereto as Exhibit B.

                9.      VDARE was recognized as tax-exempt (under I.R.C. section 501(c)(3)) by the

         IRS in or about May 2001. A true and correct copy of an IRS confirmation letter addressed to

         the Lexington Research Institute Limited dated August 9, 2005 is attached hereto as Exhibit C.

                10.     In 2009, VDARE registered as a charity with the Charities Bureau of the Office of

         the Attorney General, under both the Estates, Powers and Trusts Law (“EPTL”) and under the

         Executive Law. A true and correct copy of VDARE’s CHAR 410 initial registration form is

         attached hereto as Exhibit D.

                11.     VDARE filed its initial registration with the Charities Bureau in 2009, despite

         having begun operations in New York in 2000. New York law requires that charities register

         with the Charities Bureau prior to any solicitation in New York, Exec. Law § 172, and within six

         months “after any property held by [a trustee] or any income therefrom is required to be applied

         to charitable purposes,” EPTL § 8-1.4(d).

                12.     In its CHAR 410, VDARE described its purpose as “creat[ing] and manag[ing]

         internet publications.” Ex. D at 3.

                13.     As a charity operating and soliciting in New York, VDARE is required to file

         annually a CHAR500 Registration Form. The CHAR500 must be signed by two officers and

         asks for self-reporting regarding certain basic information, including the organization’s contact

         information, the number and identity of board members, and information relating to fundraising.

                14.     The CHAR 500 also requires that organizations file and certify a copy of their

         annual IRS Form 990. According to the IRS, the Form 990 “is the IRS’ primary tool for

         gathering information about tax-exempt organizations, educating organizations about tax law



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         requirements and promoting compliance. Organizations also use the Form 990 to share

         information with the public about their programs.” https://www.irs.gov/charities-non-

         profits/form-990-resources-and-tools (last visited December 14, 2022).

                15.     As part of its required filings with the IRS and the Charities Bureau, VDARE,

         since its belated registration, files an IRS Form 990 and certifies to its accuracy each year.

         According to VDARE’s IRS Form 990, the organization’s mission is to “Create and manage

         internet publication.” True and correct copies of VDARE’s Form 990 for 2018-2020 are

         attached hereto as Exhibits E-G.

                16.     As of the date of this Affirmation, VDARE has not filed its 2020 or 2021

         CHAR500 Forms, which would include the IRS Form 990 as an attachment, and is delinquent in

         its required annual registration with the Charities Bureau.

                17.     VDARE reports on its Form 990 that its website is WWW.VDARE.COM. Exs.

         E-G.

                18.     According to VDARE’s Form 1023 Application filed with the IRS and the

         Charities Bureau, Peter Brimelow (“Brimelow”) is the “Director/CEO/Chairman” of VDARE.

         Ex. B at 3. Maggie Brimelow is listed as Secretary/Treasurer on VDARE’s Form 1023

         Application. Id. Upon information and belief, Maggie Brimelow was Peter Brimelow’s wife

         prior to her death in 2004.

                19.     For certain years, Lydia Brimelow is listed as “Secretary, Treasurer and

         Publisher” of VDARE on VDARE’s Char500 filed with the Charities Bureau. Upon information

         and belief, Lydia Brimelow is Peter Brimelow’s current wife. This relationship is not listed on

         Schedule L or Schedule O of the 2020 IRS Form 990, as is required by law. Lydia Brimelow is

         listed as a director of VDARE in its IRS Form 990 for 2020, but not in other years. John



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         Brimelow is Peter Brimelow’s brother and is listed as a director of VDARE in its Form 990 for

         2018-2020. See Exs. E-G.

                20.     As set forth in its IRS 990 for 2020, the most recent filing that is publicly

         available, VDARE’s board and management for 2020 consisted entirely of members of the

         Brimelow family: Peter, Lydia, and John. Ex. G.

                21.     VDARE and its current and past board members are the subject of an ongoing

         investigation by the Attorney General concerning potential financial improprieties, including

         unlawful related party transactions between VDARE and affiliated entities, officers and board

         members, excessive compensation, private inurement, and violations of statutory and common

         law governance standards.

                22.     In February 2020, VDARE was publicly reported to have bought a historic,

         9,300-square foot castle in a West Virginia resort town for $1.4 million. See Rick Steelhammer,

         Berkeley Springs Castle Becomes Conference Site for VDARE, an Organization to ‘Keep

         America American,’ Charleston Gazette-Mail (Mar. 7, 2020), available at

         https://www.wvgazettemail.com/news/berkeley-springs-castle-becomes-conference-site-for-

         vdare-an-organization-to-keep-america-american/article_170131e9-db7c-500f-8a57-

         91e1fcc1ad66.html (last visited December 14, 2022).

                23.     In a February 2020 public announcement on VDARE.com, VDARE described the

         castle as a meeting space “where we can meet and share ideas without fear of deplatforming.”

         See Lydia Brimelow, Lydia Brimelow: We Got the Keys to the Castle!, VDARE.COM (Feb. 26,

         2020), https://vdare.com/articles/lydia-brimelow-we-got-the-keys-to-the-castle (last visited

         December 14, 2022).




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                  24.   Months later, Brimelow continued to represent to donors that the castle was a

         necessity—stating in a solicitation that VDARE “had to buy the Berkeley Springs Castle.” See

         “VDARE.com Editor Peter Brimelow: Please Give By Credit Card BEFORE MIDNIGHT—

         While You Still Can!”, https://vdare.com/articles/vdare-com-editor-peter-brimelow-please-give-

         by-credit-card-before-midnight-while-you-still-can (last visited December 14, 2022).

                  25.   Upon information and belief, Peter Brimelow, Lydia Brimelow, and their three

         children moved into the Berkeley Springs Castle and have been using it as their primary family

         residence since March 2020.

                  26.   On VDARE.com, the Brimelows have posted photos of the family celebrating

         holidays at the castle such as the 4th of July (https://vdare.com/posts/the-brimelow-family-

         wishes-you-a-happy-independence-day (last visited December 14, 2022)), and Christmas Eve

         (https://vdare.com/articles/peter-brimelow-merry-christmas-from-vdare-com-f3d0cb33-af41-

         4d90-93b9-c82cd46c5950 (last visited December 14, 2022)).

                  27.   In a post dated December 4, 2020, a VDARE.com contributor reported visiting

         the castle and noted that “Peter and Lydia Brimelow have moved in and spend most of their time

         there with their [children]….”. See https://vdare.com/radio-derb/castling-with-vdare-com-

         senate-visa-giveaway-covid-hypocrisy-and-students-cancel-black-etc (last visited December 14,

         2022).

                  28.   Public filings indicate that, in December 2020, VDARE conveyed the entirety of

         the Berkeley Springs Castle property in two separate transactions to two West Virginia

         corporations that had been incorporated by Lydia Brimelow five months earlier. VDARE

         conveyed the castle itself and the land that it sits on to the Berkeley Castle Foundation (BCF), a

         putative non-profit corporation. VDARE conveyed the remaining land, consisting of eight



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         parcels, to BBB, LLC, a for-profit corporation. Transfer of charitable assets to a for-profit entity

         without fair consideration is a violation of both New York and federal law. True and correct

         copies of these deeds are attached as Exhibit H and I.

                29.     This transaction is not reported on the VDARE 2020 IRS Form 990, as required

         by law, nor was it submitted to the Charities Bureau for approval, as required by Sections 510

         and 511 of the Not-for-Profit Corporation Law.

                30.     According to records on file with the West Virginia Secretary of State, Lydia

         Brimelow incorporated BCF as a West Virginia domiciled nonprofit on July 21, 2020. A copy of

         the Business Organization Detail page for BCF from the West Virginia Secretary of State’s

         website is attached as Exhibit J.

                31.     BCF was recognized as a tax-exempt organization by the IRS by notice dated

         January 20, 2022. A copy of BCF’s tax exemption recognition notice is attached hereto as

         Exhibit K.

                32.     Using the tagline “When nothing but a castle will do,” BCF offers to rent the

         castle as an event space through its website. According to that website, BCF began taking event

         reservations in summer 2020.




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         https://www.berkeleyspringscastle.com/contact.html (last visited December 14, 2022).

                33.     According to records on file with the West Virginia Secretary of State, Lydia

         Brimelow incorporated BBB, LLC as a West Virginia domiciled for-profit corporation on July

         21, 2020. Lydia Brimelow is listed as BBB, LLC’s organizer and manager. The organization’s

         only listed business purpose is “Real Estate and Rental and Leasing—Real Estate—Lessors of

         Real Estate.” A copy of the Business Organization Detail page from the West Virginia Secretary

         of state is attached as Exhibit L.

                34.     Announcements posted to VDARE.com in October 2021 indicate that the castle’s

         “First Public Event” was an “Auction Preview Party” showcasing items from the castle that the

         Brimelows were selling in a private auction, including swords, a riding helmet, and a butter

         churn. See “Come To Our First Public Event! Castle Auction: Saturday, October 16th” at

         https://vdare.com/posts/come-to-our-first-public-event-castle-auction-saturday-october-16th

         (“VDARE.com bought the Berkeley Castle furnished, and we’re retaining many of the beautiful

         pieces for Castle use. But there are just so many we can’t use them all! So, in partnership with

         local auction house J Lawyer, we’re offering the rest up to our friends and supporters.”) (last

         visited December 14, 2022) and “Downsizing For The Historical Berkeley Springs Castle” at

         https://www.jlawyerauctions.com/auctions/detail/bw70268 (last visited December 14, 2022).

                35.     Following the public reporting of the castle purchase, personnel in the Office of

         the Attorney General reviewed VDARE’s Form 990s and other publicly available documents.

         The OAG identified several areas of concern which may constitute violations of VDARE’s

         bylaws and/or New York law. For example, and without limitation:

                a.      According to its IRS Form 990 for 2019, VDARE raised over $4.2 million

                        in contributions and grants in 2019, which is more than eight times its



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                     publicly reported 2018 revenue and more than ten times its publicly

                     reported 2017 revenue. VDARE did not file a report by an independent

                     auditor for that year, as required for organizations soliciting in New York

                     with revenue of over $1,000,000. VDARE claimed an exemption from the

                     requirement on the grounds that it raised less than the requisite $25,000

                     from New York donors.

               b.    According to VDARE’s disclosures in Schedule J of the 990, VDARE

                     does not appear to have any process in place for determining Brimelow’s

                     salary.

               c.    According to VDARE’s IRS Form 990 for 2019, Brimelow’s reported

                     compensation for 2019 nearly doubled from 2018, to $345,364 — an

                     amount equivalent to nearly half of VDARE’s total program service

                     budget for the year.

               d.    According to Schedule L of VDARE’s 990, rather than pay Brimelow

                     directly, VDARE pays Brimelow’s salary through an independent

                     contractor, Happy Penguins LLC, which VDARE reports is owned by

                     Brimelow. Under this arrangement, Peter Brimelow, VDARE’s chief

                     executive, is technically a Happy Penguins “leased employee” rather than

                     a VDARE employee.

               e.    In 2019, VDARE paid Happy Penguins more than Peter Brimelow’s

                     annual salary. Although Brimelow’s reported salary for 2019 was

                     $345,364, VDARE also reported paying Happy Penguins LLC $411,003.

                     In 2019, VDARE also listed the Brimelows’ residential home address in



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                     Litchfield, Connecticut as its corporate address while reporting $36,142 in

                     “office expenses” and $8,664 in “occupancy expenses” on its Form 990 —

                     additional compensation to the Brimelows that was not properly reported.

                     These financial arrangements may violate express conflict provisions in

                     the N-PCL and VDARE’s bylaws.

               f.    Lydia Brimelow’s position in the organization is inconsistently and

                     incompletely reported. To the extent that she serves as an officer or

                     director of VDARE, that family relationship, which should be disclosed, is

                     not reported on VDARE’s Form 990.

               g.    The VDARE Form 990 for 2020 contains additional statements which

                     raise significant issues about compliance with governing law and use of

                     charitable assets. For example, in response to Form 990, Part VI, Line

                     11b: Form 990 Review Process Schedule O represents that “No review

                     was or will be conducted.” The IRS 990 at Section VI, question 12

                     represents that there is a conflict of interest policy (as required by New

                     York Not-for-Profit Law) but the explanation of that policy is nowhere

                     addressed on Schedule O, as required by the IRS. Schedule J, which

                     requires disclosure of certain benefits to officers, leaves blank the question

                     whether the officer receives a housing allowance or residence for personal

                     use. Schedule L, which requires disclosures of transactions with interested

                     persons, makes no mention either of Lydia Brimelow’s salary from

                     VDARE or of the transaction providing a residence for use by the

                     Brimelows.



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                36.     In April 2020, Facebook suspended VDARE’s Facebook account based on

         Facebook’s determination that VDARE engaged in “coordinated inauthentic behavior” by

         creating a network of “fake accounts to create fictitious personas…drive traffic to off-platform

         sites, and evade enforcement.” According to Facebook’s analysis, VDARE’s network consisted

         of “19 Pages, 15 Facebook accounts, and 1 Group” accounting for 207,700 followers. Facebook

         determined that VDARE’s network spent “around $114,000” buying ads to further its inauthentic

         behavior. If true, this could constitute a waste of charitable assets and breach of the Brimelows’

         fiduciary duties as VDARE officers. VDARE sued Facebook, alleging defamation, when

         Facebook published a copy of its 2020 report, and VDARE attached a copy of the report to its

         federal complaint. A true and correct copy of the April 2020 “Coordinated Inauthentic Behavior

         Report,” as filed by VDARE, is attached as Exhibit M.

                37.     On June 24, 2022, the Attorney General personally served a subpoena duces

         tecum on VDARE by delivery to VDARE’s designated agent for service, the Secretary of State

         of New York, in compliance with CPLR 311 and N-PCL § 306. A true and correct copy of the

         Subpoena is attached hereto as Exhibit N.

                38.     On June 24, 2022, the Attorney General mailed a copy of the Subpoena, by U.S.

         Mail Certified Return Receipt to the address identified in VDARE’s most recent annual filing

         with the Charities Bureau (276 Cacapon Road, Berkeley Springs, West Virginia 25411), together

         with a copy of the Affidavit of Service prepared by OAG Investigator Donald C. Anselment and

         a cover letter confirming the nature of the document. A true and correct copy of the Attorney

         General’s June 24, 2022 letter is attached hereto as Exhibit O.




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                Efforts to Obtain Subpoena Compliance Since July 2022

                39.       VDARE responded to receipt of the Attorney General’s Subpoena by immediately

         insisting that the Subpoena be withdrawn as unlawful: on July 2, 2022, VDARE’s then-counsel

         Frederick Kelly confirmed receipt of the Subpoena, demanded that the Subpoena be withdrawn

         in its entirety, and requested information regarding, inter alia, the subject matter of the

         investigation and the relevance of the documents sought in the Subpoena. True and correct

         copies of Kelly’s July 2, 2022 email and its attachments are attached hereto as Exhibit P.

                40.       On July 18, 2022, counsel from the Attorney General’s Office met telephonically

         with Kelly. During that call, Kelly asked the OAG to provide information regarding the nature

         of the investigation and expressed concerns regarding certain Subpoena requests, including

         requests that he believed were overbroad or called for production of documents protected by the

         attorney-client privilege. OAG counsel responded to Kelly’s questions, with a reservation of

         rights, and identified concerns regarding: (1) the purchase and use of the castle; (2) benefits

         conferred upon the Brimelows; (3) whether the VDARE board is properly overseeing the

         finances of the organization; and (4) whether the organization is using charitable assets in

         accordance with its mission. The OAG also stated that to the extent counsel believed that

         production would invade attorney-client privilege, the Subpoena did not seek privileged

         communications and expressly instructed counsel to withhold such documents and provide a

         privilege log.

                41.       On July 20, 2022, Kelly sent a second letter to the OAG, by which VDARE

         renewed its request that the Subpoena be withdrawn and set forth individual objections to many

         of the Subpoena’s individual requests on the grounds of overbreadth, vagueness, attorney-client




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         privilege, and that its requests sought the identities of VDARE readers, writers, and donors. A

         true and correct copy of VDARE’s July 20, 2022 letter is attached hereto as Exhibit Q.

                42.     On July 27, 2022, the Attorney General responded by email to the objections

         raised in VDARE’s July 20 letter. With a reservation of rights, counsel for the OAG attempted

         to address VDARE’s concerns by clarifying individual Subpoena requests and agreeing that the

         names of certain individuals, including VDARE contributors and volunteer supporters, could be

         redacted from otherwise responsive records. A true and correct copy of the OAG email dated

         July 27, 2022 is attached hereto as Exhibit R.

                43.     In August 2022, VDARE retained substitute counsel — attorney Andrew Frisch

         — and indicated through that new counsel that it intended to comply with the Subpoena. Frisch

         contacted the OAG by phone and letter to identify himself as VDARE’s new representative in

         connection with the Subpoena response and he requested additional time to collect and review

         potentially responsive material for production. In a letter on September 19, 2022, Frisch wrote:

         “I do not stand by my predecessor counsel’s position that the Subpoena be withdrawn.” He

         noted that there existed “a significant volume of electronically-stored and hard copy documents

         that need to be reviewed” and he confirmed that he had prepared the first of what he expected

         would be multiple rolling production deliveries. He also confirmed that he had redacted certain

         information in his first production delivery but had not “had ample time to fully evaluate bases

         underlying the redactions.” A true and correct copy of Frisch’s letter dated September 19, 2022

         is attached hereto as Exhibit S.

                44.     VDARE made its first production of responsive material to the OAG on

         September 19, 2022, nearly two months after the Subpoena’s originally stated deadline for

         completion of all production. The September 19 production contained 27 documents produced



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         without Bates numbers and bearing unmarked redactions. No log was provided with the

         production to identify or explain how and why the documents had been redacted.

                45.      The OAG requested a redaction log for VDARE’s production immediately upon

         receiving the September 19 delivery and has repeated that request in the three months since. In

         an email on September 30, 2022, the OAG expressly insisted that productions be delivered in the

         form called for by the Subpoena and that all redactions be accompanied by “a log identifying the

         Bates range for any pages on which redactions appear, the legal basis for those redaction, and a

         general description of the category of information being withheld.” The OAG’s September 30

         email explained that, without a redaction log, the Office had no means to “reliably identify what

         has been deleted from the material [VDARE was] producing and on what legal basis.” A true a

         correct copy of the OAG’s September 30, 2022 email is attached as Exhibit T.

                46.      In twelve weeks since its first delivery, VDARE has produced approximately

         6,000 pages of material from its hard copy records that it identifies as responsive to the

         Subpoena. It has redacted that material without offering any legal basis for individual redactions

         or any explanation of how otherwise responsive material has been identified and segregated for

         redaction. The redactions are extensive, and they have been applied across almost every

         category of document produced, including VDARE board meeting minutes, VDARE bank

         statements, internal VDARE accounting ledgers, VDARE credit card statements, invoices sent to

         VDARE, financial records for the limited liability company (Happy Penguins LLC) from which

         VDARE has historically leased Peter Brimelow’s services, and bank statements to accounts held

         personally by Peter and Lydia Brimelow. In one instance, VDARE appears to have redacted a

         magazine subscription renewal form addressed to Peter Brimelow that it also marked as

         Confidential.



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                47.     On October 31, 2022, Lydia Brimelow certified to the OAG that, with limited

         exceptions, VDARE’s production from its hard copy files was complete. A true and correct

         copy of Brimelow’s October 31 certification is attached as Exhibit U. As certified, VDARE’s

         hard copy production contains no responsive material from the following categories of record

         called for by the Subpoena: (i) solicitation materials sent by VDARE to potential contributors;

         (ii) documents related to the setting or adjusting VDARE’s officer compensation; (iii) documents

         concerning past or future VDARE events located at the Berkeley Springs Castle property; (iv)

         documents concerning Director and Officer liability insurance held by VDARE for the benefit of

         its Board; (v) documents sufficient to demonstrate who controls VDARE’s financial accounts;

         and (vi) communications between VDARE and its accountants.

                48.     On October 31, 2022, VDARE also identified 22 unique email accounts that

         together contained approximately 40 gigabytes of potentially responsive electronically-stored

         information. VDARE counsel stated on October 31 that review of those accounts would be

         completed on or before November 21, 2022. A true and correct copy of the October 31, 2022

         letter to the OAG from VDARE counsel is attached, without its attached list of email account

         names, as Exhibit V.

                49.     VDARE did not produce any material from its electronic files as promised on

         November 21. In letters dated November 21 and November 28, attached as Exhibits W and X,

         VDARE counsel reported to the OAG that its email review was taking longer than expected. In

         its November 28 letter, VDARE counsel identified December 12, 2022 as a new deadline — set

         without input or consent from the OAG — by which it would complete an email production. No

         such production was ever provided.




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                50.     The OAG has met with VDARE counsel, in person and by phone, on multiple

         occasions in the months since VDARE made its first September 2022 production. VDARE

         counsel has assured the OAG throughout that he was working diligently to comply with the

         Subpoena. The OAG has expressed concern over production delay in each of its contacts with

         VDARE counsel and has objected repeatedly to VDARE’s continuing production of redacted

         material without any identified explanation of or legal basis for redaction.

                51.     On December 2, 2022, counsel for the OAG summarized its concerns with the

         pace and scope of VDARE’s production to date in a letter addressed to VDARE counsel. A true

         and correct copy of the December 2, 2022 letter is attached as Exhibit Y.

                52.     As of the date of this filing, the Subpoena’s deadline for production has been

         extended no fewer than six times — most recently to December 12, 2022. In total, these

         adjournments extended the Subpoena’s stated response deadline by approximately twenty weeks.

                53.     As of the date of this filing, VDARE has not produced any material from the 22

         individual VDARE email accounts that it identified on October 31 as containing potentially

         responsive material.

                54.     As of the date of this filing, VDARE has refused to produce any log identifying

         the material in its production that it has redacted and the legal basis on which it is withholding

         the redacted information.

                55.     On December 12, 2022, the same date that VDARE counsel independently

         selected for complete production of responsive VDARE email, VDARE filed a lawsuit in the

         U.S. District Court for the Northern District of New York seeking to have the Attorney General’s

         investigative Subpoena declared unconstitutional. A true and correct copy of VDARE’s




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         December 12, 2022 Verified Complaint is attached as Exhibit Z. The OAG believes that

         VDARE’s claims in that action are without merit and will seek to dismiss the complaint.

                56.     In accordance with CPLR Rule 2217(b), I affirm that the Attorney General has

         not previously requested the relief sought by this application.


         Dated: New York, New York
                December 16, 2022

                                                               LETITIA JAMES
                                                               Attorney General of the State of New York

                                                               By:

                                                               _________________________
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